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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------x                                                  6/27/2023
UNITED STATES OF AMERICA,


              -against-                                                         22-cr-0673 (LAK)


SAMUEL BANKMAN-FRIED,

                     Defendant.
-----------------------------------------x



                                MEMORANDUM OPINION


                             Appearances:


                                            Danielle R. Sassoon
                                            Samuel Raymond
                                            Thane Rehn
                                            Nicolas Roos
                                            Danielle Marie Kudla
                                            Assistant United States Attorneys
                                            Jil Simon
                                            Trial Attorney
                                            DAMIAN WILLIAMS
                                            UNITED STATES ATTORNEY

                                            Mark Stewart Cohen
                                            Christian R. Everdell
                                            S. Gale Dick
                                            Sri K. Kuehnlenz
                                            COHEN & GRESSER LLP
                                            Attorneys for Defendant


LEWIS A. KAPLAN, District Judge.

              Defendant Samuel Bankman-Fried is charged in a thirteen-count superseding

indictment with perpetrating an alleged multi-billion-dollar fraud relating to his operation of
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cryptocurrency companies that he founded and controlled.1 The matter is before the Court on the

defendant’s pretrial motions to dismiss or, in the alternative, to sever certain counts, as well as for

additional discovery, a bill of particulars, and pretrial disclosures. (Dkt 136) For the reasons that

follow, the defendant’s motions are denied.



                                             Background

I.     Facts

               In evaluating a motion to dismiss, the Court “accept[s] as true all of the allegations

of the indictment.”2 The following facts are drawn from the superseding indictment filed March 28,

2023 (the “S5 Indictment”).

               In November 2017, the defendant founded Alameda Research (“Alameda”), a

quantitative cryptocurrency trading firm incorporated in Delaware, which had operations in the

United States, Hong Kong, and The Bahamas.3 He served as CEO of Alameda from its founding

until October 2021, at which time he passed the title to two Alameda employees but remained

Alameda’s “ultimate decisionmaker” until it filed for bankruptcy in November 2022.4 Throughout

the relevant period, he was one of two equity owners of the company.

               In May 2019, while still the CEO of Alameda, the defendant founded and installed



       1

               See Dkt 115, at ¶ 1 (hereinafter “S5 Indictment”).
       2

               United States v. Goldberg, 756 F.2d 949, 950 (2d Cir. 1985).
       3

               S5 Indictment ¶ 10.
       4

               Id.
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                                                                                                   3

himself as CEO of FTX.com (“FTX”), a global cryptocurrency exchange that offered customers the

ability to trade in cryptocurrencies and crypto derivatives, among other crypto assets.5 He remained

CEO of FTX until the company filed for bankruptcy in November 2022.6

               From 2019 until 2022, both Alameda and FTX grew exponentially and with them

grew the defendant’s public profile, political influence, and personal fortune.7 By 2020, FTX

already had become one of the largest digital asset exchanges in the world and Alameda accounted

for “roughly 5% of global volume” in digital asset trading.8 By 2022, FTX claimed to handle

approximately $15 billion in daily trading volume on its platforms.9 As the two companies evolved

so too did their relationship with one another, with FTX describing Alameda as the “largest liquidity

provider and market maker” in the digital asset space.10

               The defendant promoted his companies as “trustworthy and law-abiding” and assured

the public that the relationship between FTX and Alameda was entirely above board.11 As early as

July 2019, two months after FTX was founded, the defendant publicly stated that although Alameda




       5

               Id. ¶ 11.
       6

               Id. ¶ 62.
       7

               Id. ¶ 2.
       8

               Id. ¶ 10.
       9

               Id. ¶ 12.
       10

               Id. ¶ 10.
       11

               See id. ¶ 2.
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was a liquidity provider on FTX, “their account [was] just like everyone else’s.”12 He made similar

public representations through and until November 2022, stating, for example, that “[t]here are no

parties that have privileged access” on FTX, and that “Alameda is a wholly separate entity.”13

               The government claims that, in reality, the defendant “[e]xploit[ed] the trust that FTX

customers placed in him and his exchange.”14 Specifically, the government alleges that he “stole

FTX customer deposits[] and used billions of dollars in stolen funds for a variety of purposes,

including, among other things, to support the operations and investments of FTX and Alameda; to

fund speculative venture investments; to make charitable contributions; and to enrich himself.”15

Moreover, the government alleges that he engaged in corrupt practices to advance his fraudulent

schemes, including attempting to influence federal cryptocurrency regulation via tens of millions

of dollars in illegal campaign contributions and conspiring to bribe one or more Chinese government

officials.16 Ultimately, the alleged multi-billion-dollar fraud victimized FTX’s customers and

investors, Alameda’s lenders, financial institutions, and the Federal Election Commission (“FEC”).17

               The defendant’s crypto empire collapsed in November 2022 when an internet news

organization leaked what appeared to be a copy of Alameda’s balance sheet. The leaked document


       12

               Id. ¶ 24.
       13

               Id.
       14

               Id. ¶ 1.
       15

               Id.
       16

               Id.
       17

               Id. ¶¶ 1, 4.
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revealed that Alameda’s solvency was dependent on a multi-billion-dollar valuation that Alameda

assigned to its holdings of “FTT,” FTX’s proprietary digital currency, which was illiquid and

difficult to value. This revelation triggered what was essentially a bank run, as FTX customers

hurriedly sought to withdraw their funds from the FTX exchange.18 After several failed attempts

to reassure the public and to secure sufficient liquid capital to satisfy customer withdrawals, the

defendant resigned from FTX on November 11, 2022, and FTX and Alameda filed for Chapter 11

bankruptcy protection.19



II.    Prior Proceedings

               On December 9, 2022, the defendant was charged in the original eight-count

indictment, which alleged a wide-ranging fraud on FTX’s customers and investors and on

Alameda’s lenders. That indictment accused him of wire fraud and conspiracy to commit wire fraud

against FTX’s customers, wire fraud and conspiracy to commit wire fraud against Alameda’s

lenders, and conspiracies to commit commodities fraud, securities fraud, money laundering, and

violations of the federal campaign finance laws.20

               On December 10, 2022, the United States provided The Bahamas with a diplomatic

note, attaching an arrest warrant issued in this district for arrest of the defendant. Both the

diplomatic note and the arrest warrant listed the eight counts with which the defendant had been



       18

               Id. ¶ 7.
       19

               Id. ¶¶ 7-9, 62.
       20

               Dkt 1, at 1-12.
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charged in the original indictment.21

               On December 12, 2022, the Royal Bahamas Police Force arrested the defendant on

the provisional arrest warrant.22 He was detained in The Bahamas until, “having considered the

charges set out in the . . . [d]iplomatic [n]ote and arrest warrant,” he consented to extradition on

December 20, 2022.23 The next day, the defendant appeared in a Bahamian court to enter his

consent to extradition, which the Bahamian judge accepted and ordered him detained for extradition

on the counts set forth in the United States’ diplomatic note.24 After the court proceeding, the

Bahamian Minister of Foreign Affairs executed a warrant of surrender of the defendant whereupon

he was taken into U.S. custody.25 The warrant of surrender listed seven of the eight charges in the

original indictment, but omitted the charge for conspiracy to violate the campaign finance laws.26

               On December 22, 2022, the defendant was arraigned on the original indictment

before Magistrate Judge Gorenstein. Since then, the government has superseded the original

indictment twice with respect to the defendant, the first time on February 23, 2023 (the

“S3 Indictment”) and the second on March 28, 2023 (the “S5 Indictment”).27 The S3 Indictment

       21

               See Dkt 137-1, at 5-6, 13.
       22

               Dkt 4, at 1.
       23

               Dkt 137-1, at 3.
       24

               See Dkt 137-4, at 10-11.
       25

               Dkt 137-2, at 2-3; Dkt 36, at 2.
       26

               Dkt 137-2, at 2-3.
       27

               Dkt 80 (S3 Indictment); Dkt 115 (S5 Indictment).
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added four charges to those already contained in the original eight-count indictment: a substantive

commodities fraud count, a substantive securities fraud count, a bank fraud conspiracy count, and

an unlicensed money transmitting conspiracy count.28 The S5 Indictment added a count for

conspiracy to violate the Foreign Corrupt Practices Act (“FCPA”), yielding a total of thirteen counts

in the operative indictment.29

               On May 8, 2023, the defendant filed seven pretrial motions, set forth in Dkt 136, to

dismiss Counts One through Four, Seven through Ten, and Twelve and Thirteen in the

S5 Indictment, or in the alternative, to sever Counts Twelve and Thirteen, as well as for additional

discovery, a bill of particulars, and pretrial disclosures.30 Among the motions was one seeking

dismissal of the counts added by the two superseding indictments, as well as the campaign finance

charge omitted from the defendant’s warrant of surrender issued in The Bahamas, on the basis of

the rule of specialty, a doctrine of international law that, broadly speaking, restricts a nation that

obtains a defendant by extradition from a requested state to trying the defendant only on the charges

on which extradition was sought. The defendant contends that dismissal of those counts is

appropriate because they were not bases upon which he was extradited from The Bahamas. The

motions are fully briefed.31

               In his reply brief, the defendant for the first time sought an alternative remedy for the



       28

               See S3 Indictment ¶¶ 67-68, 73-74, 80-86.
       29

               S5 Indictment ¶¶ 102-05.
       30

               See Dkts 136-145.
       31

               See Dkts 148-149 (Gov’t Opp. Brs.); Dkt 158 (Def.’s Reply Br.).
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alleged rule of speciality violations: severance of the post-extradition charges as well as the

campaign finance charge.32        By letter dated June 14, 2023, the government consented to

discretionary severance of the post-extradition charges, but not the campaign finance charge, under

Federal Rule of Criminal Procedure 14.33

               On June 15, 2023, the Court heard oral argument on the motions and subsequently

issued an order denying Pretrial Motion Nos. 5, 6, and 7 and severing the post-extradition charges

– Counts Four, Six, Nine, Ten, and Thirteen of the S5 Indictment. For the reasons set forth below,

the defendant’s remaining pretrial motions are denied either as moot or on the merits.



                                            Discussion

I.     Rule of Specialty

               The defendant moves to dismiss the post-extradition charges (Counts Four, Six, Nine,

Ten, and Thirteen) and the campaign finance charge (Count Twelve, and collectively, the “At-Issue

Charges”) because they allegedly were charged in a manner that violates the “rule of specialty”

codified in Article 14 of the “Extradition Treaty between the Government of the Commonwealth of

The Bahamas and the Government of The United States of America,” signed March 9, 1990 (the

“Extradition Treaty”).34 In the alternative, he moves to sever those counts pursuant to Federal Rule

of Criminal Procedure 14 and for an order requiring the government to produce all diplomatic



       32

               Dkt 158, 25-28.
       33

               Dkt 162, at 1-2.
       34

               See Dkt 139.
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correspondence and notes relating to his extradition.35



       A.      Motion to Dismiss At-Issue Charges

               The rule of specialty “generally requires a country seeking extradition to adhere to

any limitations placed on prosecution by the surrendering country.”36 Moreover, a defendant that

is extradited pursuant to an extradition treaty “can only be tried for one of the offences described

in th[e] treaty [under which he is extradited], and for the offence with which he is charged in the

proceedings for his extradition.”37 “As a matter of international law, the principle of specialty has

been viewed as a privilege of the asylum state, designed to protect its dignity and interests, rather

than a right accruing to the accused.”38 Consequently, an extraditee lacks standing to seek relief for

noncompliance with an extradition treaty “unless the treaty [contains] language indicating that the

intent of the treaty drafters’ was that such benefits could be vindicated through private

enforcement.”39

               In the present case, the Extradition Treaty provides in relevant part that an extradited

       35

               See id., at 31-32; Dkt 158, at 25-28.
       36

               United States v. Baez, 349 F.3d 90, 92 (2d Cir. 2003).
       37

               United States v. Barinas, 865 F.3d 99, 104 (2d Cir. 2017) (quoting United States v.
               Rauscher, 119 U.S. 407, 430 (1886)).
       38

               Shapiro v. Ferrandina, 478 F.2d 894, 906 (2d Cir. 1973).
       39

               Barinas, 865 F.3d at 105 (quoting United States v. Garavito-Garcia, 827 F.3d 242, 247 (2d
               Cir. 2016)) (internal quotation marks omitted); see also id. (internal citations and quotation
               marks omitted) (“Absent an express provision in the agreement between the states, any
               individual rights are only derivative through the states, and absent protest or objection by the
               offended sovereign, a defendant has no standing to raise the violation of international law.”).
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defendant “may only be detained, tried, or punished in the Requesting State for the offense for which

extradition was granted, or . . . any offense in response of which the executive authority of the

Requested State, in accordance with its laws, has consented to the person’s detention, trial, or

punishment . . . .”40 This language is substantially similar to the U.S.-Dominican Republic

extradition treaty at issue in United States v. Barinas, which provided that “No person[] shall be

tried for any crime or offence other than that for which he was surrendered.”41 There, the Second

Circuit held that the rule of specialty could be invoked only by the Dominican Republic because the

extradition treaty “[did] not state that [the] provision [could] be enforced by an individual,” and

there was “no language indicating that the Dominican Republic and the United States intended the

Treaty to be enforceable by individual defendants.”42

               Barinas is dispositive. The Extradition Treaty here at issue does not provide that it

may be enforced by an individual. Nor is there any language indicating that The Bahamas and the

United States intended it to be so enforceable. Accordingly, under the Second Circuit’s binding

precedent, the rule of specialty may be invoked here only by The Bahamas. The defendant lacks

standing to do so.

               The Court notes that the United States has notified The Bahamas of the additional

charges in the S5 Indictment and is seeking a specialty waiver for the post-extradition charges.43


       40

               Dkt 137-2, at 21-22.
       41

               Barinas, 865 F.3d at 105 (quoting Convention Between the United States and the Dominican
               Republic for the Extradition of Criminals, June 19, 1909, 36 Stat. 2468, 2472).
       42

               Id.
       43

               See Dkt 148, at 4.
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It concedes that The Bahamas’ “response will be dispositive,” and that the government will not

proceed on the new counts if The Bahamas denies its request.44 As to the campaign finance charge

– Count Eight of the original indictment and Count Twelve of the S5 Indictment – the government

maintains that the rule of specialty does not apply because the “extradition record as a whole

suggests that the defendant was extradited on all counts in the original indictment.”45 Nevertheless,

“[i]n an abundance of caution,” the United States “has conveyed to The Bahamas its understanding

that the omission of the campaign finance charge [from the defendant’s warrant of surrender] was

inadvertent, and informed The Bahamas that, absent timely information to the contrary from The

Bahamas,” it intends to proceed on that charge.46 The government has represented that it will not

proceed on the campaign finance charge if The Bahamas objects.47

               At this time, The Bahamas has not lodged any objection to these proceedings and the

Court is not aware of any response to the request for a specialty waiver or for clarification regarding

Count Twelve of the S5 Indictment. The Court notes also that the defendant has a pending

application in the Bahamian courts for judicial review of the Bahamian Attorney General’s


       44

               Id., at 4; see also United States v. Guzman Loera, 24 F.4th 144, 152 (2d Cir. 2022) (“[T]o
               the extent there is any disagreement among the circuits about a defendant’s standing to raise
               a specialty objection in the absence of a waiver by the extraditing nation, there is no support
               for granting such standing in a case like this, in which [the extraditing country] has explicitly
               consented to having [the defendant] tried on the instant indictment.”); United States v.
               Suarez, 791 F.3d 363, 367 (2d Cir. 2015) (explaining that the defendant “would only have
               prudential standing to raise the claim that his sentence violated the terms of his extradition
               if the [Requested State] first makes an official protest”).
       45

               Dkt 148, at 13.
       46

               Id., at 14 n. 5.
       47

               Id.
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determination that the defendant does not have a right to be heard before The Bahamas decides

whether to grant the requested specialty waiver.48 On June 13, 2023, the Supreme Court of The

Bahamas issued a ruling enjoining the Bahamian Attorney General and the Bahamian Minister of

Foreign Affairs from providing consent to the government’s requested specialty waiver until a final

determination is made on that pending application.49

               In all the circumstances, the defendant lacks standing to invoke the rule of specialty

and his motion is denied without prejudice to a renewed motion should The Bahamas object to any

of the charges brought against him.50 The defendant’s request for discovery pertaining to his

extradition likewise is denied. The parties are directed to keep the Court informed regarding the

status of the specialty waiver and request for clarification.



       B.      Request to Sever Unlawful Campaign Contributions Conspiracy Count

               In the alternative, the defendant asks to sever the At-Issue Charges and schedule them

for a separate trial from the other counts in the S5 Indictment.51 The defendant’s motion is moot as

to Counts Four, Six, Nine, Ten, and Thirteen, which already have been severed by the Court’s order




       48

               See Dkt 160, at 1; Dkt 160-1, at ¶ 81(ii).
       49

               See Dkt 160, at 1; Dkt 160-1, at ¶¶ 16(ix), 81(iii).
       50

               See United States v. Ralston, No. 19-cr-774 (JSR), 2022 WL 769257, at *4 (S.D.N.Y.
               Mar. 14, 2022) (denying motion to dismiss on specialty grounds where the parties agreed
               that the pending “decision of the extraditing countries as to waiver of the rule of specialty
               will be dispositive”).
       51

               Dkt 158, at 25-28.
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dated June 15, 2023.52 His motion to sever Count Twelve of the S5 Indictment is denied for the

following reasons.

               The defendant moves to sever Count Twelve, which charges him with conspiring to

make unlawful campaign contributions and to defraud the FEC, on two grounds.53 First, he argues

that joinder of Count Twelve was improper pursuant to Rule 8(a) because it is not “connected with”

and is not “part of a common scheme or plan” with the other charged offenses.54 Second, even if

joinder were proper, he argues that the count should be severed pursuant to Rule 14(a) because a

joint trial would be unduly prejudicial.55

               Federal Rule of Criminal Procedure 8(a) provides for joinder of offenses that “are

of the same or similar character, or are based on the same act or transaction, or are connected with

or constitute parts of a common scheme or plan.”56 The Second Circuit has “interpreted Rule 8(a)

as providing a liberal standard for joinder of offenses,”57 which “reflects a policy determination that

gains in trial efficiency outweigh the recognized prejudice that accrues to the accused” when

multiple offenses are tried together.58

       52

               Dkt 165, at 1.
       53

               S5 Indictment ¶¶ 96-101.
       54

               Dkt 158, at 63.
       55

               Id., at 25-28, 63-66.
       56

               FED. R. CRIM. P. 8(A).
       57

               United States v. Wilson, 512 F. App’x 75, 76 (2d Cir. 2013).
       58

               United States v. Turoff, 853 F.2d 1037, 1042 (2d Cir. 1988).
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               Under Rule 14(a), a court “may order separate trials of counts . . . or provide any

other relief that justice requires” if the joinder of offenses “appears to prejudice a defendant or the

government.”59 Yet because Rule 8 inherently “authorizes some prejudice,” a defendant who “seeks

separate trials under Rule 14 carries a heavy burden of showing that joinder will result in substantial

prejudice.”60 Moreover, the defendant must show substantial prejudice that is “unfair” and

“sufficiently severe to outweigh the judicial economy” of a joint trial.61 Even if prejudice is shown,

Rule 14(a) does not require severance and “the relief to be granted, if any, [is left] to the district

court’s sound discretion.”62

               Count Twelve is joined properly with the other pre-extradition charges in this case

because they are unified by a common scheme, they will require “interconnected and overlapping”

evidence,63 and the defendant has not demonstrated prejudice that would be “sufficiently severe to

outweigh the judicial economy” of a joint trial.64 First, the charges are united by a common scheme

to accelerate the growth of FTX and Alameda and to enrich the defendant thereby. Count Twelve

is closely related to the other pre-extradition charges because it “stemmed from” or was committed




       59

               FED. R. CRIM. P. 14(a).
       60

               United States v. Amato, 15 F.3d 230, 237 (2d Cir. 1994).
       61

               United States v. Page, 657 F.3d 126, 129 (2d Cir. 2011).
       62

               Zafiro v. United States, 506 U.S. 534, 538-39 (1993).
       63

               Amato, 15 F.3d at 236.
       64

               Page, 657 F.3d at 129.
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with “funds derived” from the criminal conduct charged in the other counts.65 Count Twelve alleges

that FTX customer assets were misappropriated to fund the defendant’s illegal campaign

contribution scheme. For purposes of joinder, such a connection between the “funds derived” from

one offense and the commission of another offense constitutes “[t]he most direct link possible”

between charges.66 Accordingly, there is a “sufficient logical connection” among the counts to

justify joining them.67

               Second, joinder with all of the pre-extradition counts is justified because the evidence

required to prove them will be “interconnected and overlapping.”68 Both the wire fraud counts and

the campaign contributions conspiracy will require detailed evidence and analysis of the inflows and

outflows from Alameda’s accounts. Moreover, it is likely that there will be substantial overlap

among the witnesses called to prove Count Twelve and the remaining charges.69 For example, the

government expects Nishad Singh, who is identified as “CC-1” in the S5 Indictment, to testify

regarding his involvement in the campaign finance scheme and other fraudulent schemes charged

in the indictment.70 Thus, judicial economy will be served by joining all of the pre-extradition



       65

               See United States v. Bonventre, 646 F. App’x 73, 80 (2d Cir. 2016); Turoff, 853 F.2d at 1043.
       66

               Turoff, 853 F.2d at 1043.
       67

               United States v. Ruiz, 894 F.2d 501, 505 (2d Cir. 1990).
       68

               Amato, 15 F.3d at 236.
       69

               See United States v. Blakney, 941 F.2d 114, 116 (2d Cir. 1991) (“Joinder is proper where the
               same evidence may be used to prove each count.”).
       70

               See Dkt 149, at 65.
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charges in the S5 Indictment.

               Third, and finally, the defendant has not satisfied his burden of showing that joinder

of Count Twelve would cause him substantial and unfair prejudice. He argues that it is uncertain

whether he will be tried on the campaign finance charge due to the government’s pending request

for clarification from The Bahamas.71 Furthermore, he claims that such uncertainty will prejudice

his preparation for trial and “raise[] questions about, inter alia, the length of the trial, who the

Government witnesses are likely to be, the likely scope of their testimony, and which documents are

relevant evidence[.]”72 Yet, as discussed above, there is significant overlap between the witness

testimony and evidence that would be relevant and admissible with respect to Count Twelve and the

other pre-extradition charges.73 There is nothing in the record to suggest that joinder of the

campaign finance charge substantially will affect the length of trial. Moreover, the defendant has

not demonstrated any unfair prejudice because the campaign finance charge was contained in the

original indictment on which he knowingly and voluntarily consented to extradition over nine

months prior to his October trial date.74 Thus, this case is distinguishable from United States v.

       71

               Dkt 158, at 27.
       72

               Id.
       73

               United States v. Salameh, 152 F.3d 88, 115 (2d Cir. 1998) (defendant’s claim of substantial
               prejudice was “insupportable when the evidence would have been admissible against him
               in a separate trial”).
       74

               On December 20, 2022, the defendant signed an affidavit in which he consented to
               extradition on all eight counts in the original indictment, which were included in the
               diplomatic note and the arrest warrant from this district. See Dkt 137-1, at 2 (“[H]aving
               considered the charges set out in the said Diplomatic Note and arrest warrant, … I hereby
               consent, in writing, to be extradited without formal extradition proceedings.”). The
               following day, the defendant reiterated his consent to extradition on all eight counts in open
               court in The Bahamas. See Dkt 137-4, at 6-7, 10-11.
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Ramos, cited by the defendant, in which the court held that a defendant would be prejudiced absent

severance of three counts that “were added on the eve of a long-scheduled, already wide-ranging

trial.”75

                   Accordingly, in view of the substantial judicial economy from a joint trial and the

lack of unfair prejudice to the defendant, the motion for severance of Count Twelve is denied.



II.         Failure to State an Offense

                   In arguments spread across three separate motions, the defendant moves to dismiss

ten of the thirteen charges in the S5 Indictment on the bases that it fails to state an offense and that

its allegations are defective as a matter of law.76 (Dkts 140-142) As set forth below, these motions

are meritless because the S5 Indictment satisfies the pleading requirements as to all ten of those

charges.



            A.     Legal Standard

                   Because “federal crimes are solely creatures of statute, . . . a federal indictment can

be challenged on the ground that it fails to allege a crime within the terms of the applicable

statute.”77 Nevertheless, a defendant faces a “high standard” in seeking to dismiss an indictment,


            75

                   No. 06-cr-172 (LTS), 2009 WL 1619912, at *2 (S.D.N.Y. June 5, 2009) (emphasis added).
            76

                   Specifically, the defendant moves to dismiss Counts One, Two, and Seven through Nine in
                   his second pretrial motion (Dkt 140), Counts Three, Four, and Ten in his third pretrial
                   motion (Dkt 141), and Counts Twelve and Thirteen in his fourth pretrial motion (Dkt 142).
            77

                   United States v. Aleynikov, 676 F.3d 71, 75-76 (2d Cir. 2012) (internal quotation marks and
                   citations omitted).
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because Federal Rule of Criminal Procedure 7 requires that the defendant provide “only a plain,

concise, and definite written statement of the essential facts constituting the offense charged.”78 To

satisfy this rule, “an indictment need ‘do little more than to track the language of the statute charged

and state the time and place (in approximate terms) of the alleged crime.’”79 Only in “very rare

cases” must an indictment specify “how a particular element of a criminal charge will be met.”80

Generally, “[a]n indictment is sufficient when it charges a crime with sufficient precision to inform

the defendant of the charges he must meet and with enough detail that he may plead double jeopardy

in a future prosecution based on the same set of events.”81

               At the motion to dismiss stage, the Court “accept[s] as true all of the allegations of

the indictment.”82 Moreover, the Court will not “look beyond the face of the indictment and draw

inferences as to proof to be adduced at trial, for ‘the sufficiency of the evidence is not appropriately




       78

               United States v. Post, 950 F. Supp. 2d 519, 527 (S.D.N.Y. 2013) (internal quotation marks
               and citations omitted) (quoting FED. R. CRIM. P. 7(c)(1)).
       79

               United States v. Stringer, 730 F.3d 120, 124 (2d Cir. 2013) (quoting United States v. Pirro,
               212 F.3d 86, 92 (2d Cir. 2000)).
       80

               Id., at 125-26; see also Pirro, 212 F.3d at 93 (quoting United States v. Cruikshank, 92 U.S.
               542 (1875)) (“[W]here the definition of an offence, whether it be at common law or by
               statute, includes generic terms, it is not sufficient that the indictment shall charge the offence
               in the same generic terms as in the definition; but it must state the species,—it must descend
               to particulars.”).
       81

               United States v. Yannotti, 541 F.3d 112, 127 (2d Cir. 2008) (quoting United States v.
               Stavroulakis, 952 F.2d 686, 693 (2d Cir. 1992)).
       82

               Goldberg, 756 F.2d at 950.
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addressed on a pretrial motion to dismiss[.]’”83 “An indictment returned by a legally constituted and

unbiased grand jury . . . if valid on its face, is enough to call for trial of the charge on the merits.”84

That is so because summary judgment proceedings “do[] not exist in federal criminal procedure.”85

                Dismissal of charges “is an ‘extraordinary remedy’ reserved only for extremely

limited circumstances implicating fundamental rights.”86 Moreover, the Second Circuit has deemed

dismissal an “extreme sanction”87 that has been upheld “only in very limited and extreme

circumstances,” and should be “reserved for the truly extreme cases,” “especially where serious

criminal conduct is involved.”88 Ultimately, “[a]n indictment ‘need not be perfect, and common

sense and reason are more important than technicalities.’”89



        B.      Counts One, Two, Seven, Eight, and Nine Sufficiently Allege Conspiracies to
                Defraud

                The defendant moves to dismiss Counts One, Two, Seven, Eight, and Nine of the



        83

                United States v. Scully, 108 F. Supp. 3d 59, 116-17 (E.D.N.Y. 2015) (quoting United States
                v. Alfonso, 143 F.3d 772, 776-77 (2d Cir. 1998)).
        84

                Costello v. United States, 350 U.S. 359, 363 (1956).
        85

                United States v. Dawkins, 999 F.3d 767, 780 (2d Cir. 2021).
        86

                United States v. De La Pava, 268 F.3d 157, 165 (2d Cir. 2001) (citing United States v. Nai
                Fook Li, 206 F.3d 56, 62 (1st Cir. 2000) (en banc)).
        87

                United States v. Fields, 592 F.2d 638, 647 (2d Cir. 1978).
        88

                United States v. Broward, 594 F.2d 345, 351 (2d Cir. 1979).
        89

                Id. (quoting De La Pava, 268 F.3d at 162).
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S5 Indictment – offenses alleged under the federal wire and bank fraud statutes – on the theory that

the indictment fails to allege a valid property right. (Dkt 140) He claims that those counts, as

pleaded, are premised on the “right to control” theory of fraud that recently was invalidated by the

Supreme Court in Ciminelli v. United States, 598 U.S. __ (2023).90 The defendant’s motion is

meritless, however, because each of those counts tracks the relevant statutory language and

sufficiently alleges a scheme to obtain money or property.



               1.      Count Nine

               Count Nine charges the defendant with conspiracy to commit bank fraud, alleging

that he conspired to “obtain moneys, funds, credits, assets, securities, and other property owned by,

and under the custody and control of, a financial institution” by means of false representations that

a bank account “would be used for trading and market making,” when in fact it was used to receive

and transmit FTX customer deposits and fees.91 To establish an offense of bank fraud under 18

U.S.C. § 1344(2), the government must prove that the defendant “had an intent to deprive the victim

of money or property.”92 Count Nine tracks the statutory language of Section 1344(2) and

sufficiently alleges that the defendant conspired to obtain “money or property” in violation of the




       90

               See Dkt 158, at 31.
       91

               S5 Indictment ¶ 87.
       92

               United States v. Calderon, 944 F.3d 72, 85 (2d Cir. 2019); see also Kelly v. United States,
               140 S. Ct. 1565, 1566 (2020) (citing Cleveland v. United States, 531 U.S. 12, 26 (2000))
               (under federal wire fraud statute, government must prove “not only that [the defendant]
               engaged in deception, but that an object of [the] fraud was money or property.”)
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statute.93

               The defendant argues that Count Nine should be dismissed because it alleges a “right

to control” theory of property that is no longer viable under Ciminelli.94 But Ciminelli is inapposite

because the S5 Indictment alleges that the defendant conspired to induce a bank to open an account,

which was used to receive FTX customer deposits and from which the defendant and his

co-conspirators “regularly took money” from the bank’s custody.95 There is no requirement under

the bank fraud statute that a scheme to obtain money or property must “create[] a risk of financial

loss to the bank.”96 Rather, the Supreme Court has held that “for purposes of the bank fraud statute,

a scheme fraudulently to obtain funds from a bank depositor’s account normally is also a scheme

fraudulently to obtain property from a ‘financial institution,’ at least where . . . the defendant knew

that the bank held the deposits, the funds obtained came from the deposit account, and the defendant

misled the bank in order to obtain those funds.”97 Thus, the indictment plainly alleges a scheme to

obtain “money or property,” not a scheme to deprive a bank of “valuable economic information.”98

               Putting Ciminelli to one side, the defendant argues also, on the basis of a dated

        93

               Stringer, 730 F.3d at 124.
        94

               See Dkt 140, at 9-10.
        95

               S5 Indictment ¶¶ 19-23.
        96

               Loughrin v. United States, 573 U.S. 351, 366 n.9 (2014).
        97

               Shaw v. United States, 580 U.S. 63, 67 (2016).
        98

               See Ciminelli, 143 S. Ct. 1121, 1125 (2023) (rejecting “‘right to control’ theory, under which
               the Government can establish wire fraud by showing that the defendant schemed to deprive
               a victim of potentially valuable economic information necessary to make discretionary
               economic decisions”).
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out-of-circuit district court case, Alkaabi, that Count Nine must be dismissed because the

government cannot “use its motion response to amend the charging theory alleged in the

S5 Indictment to one that was never presented to the grand jury.”99 As an initial matter, the

defendant has presented no evidence regarding what charging “theory” was presented to the grand

jury. In fact, he instead argues in substance that the government’s theory, as described in its motion

papers, is not pleaded in the S5 Indictment. But Alkaabi does not support his argument that the

sufficiency of the indictment is measured against the “theory” on which – really, the facts by which

– the government proposes to prove its case, is not binding on this Court, and in any case would be

unpersuasive here for several reasons. First, contrary to the defendant’s argument, the theory

advanced by the government in its response to defendant’s motion is alleged sufficiently in the

S5 Indictment and is incorporated by reference into Count Nine.100 Second, the Third Circuit

decision relied upon by the district court in Alkaabi – United States v. Panarella101 – has been

limited significantly by subsequent authority. In light of United States v. Vitillo102 and United States


       99

               Dkt 158, at 33 (citing United States v. Alkaabi, 223 F. Supp. 2d 583, 589 (D.N.J. 2002)).
       100

               See S5 Indictment 19-23, 85; see also United States v. Bastian, 770 F.3d 212, 220-21
               (2d Cir. 2014) (the Second Circuit has “never suggested that a ‘to wit’ clause binds the
               government to prove the exact facts specified in a criminal indictment”); United States v.
               D’Amelio, 683 F.3d 412, 422 (2d Cir. 2012) (“[T]he specific means used by a defendant to
               effect his or her crime does not constitute an ‘essential element’ of the offense and, therefore,
               proof of specific means apart from those charged in the indictment does not constructively
               amend the indictment.” (emphasis in original)); United States v. Ullah, No. 18-cr-16 (RJS),
               2021 WL 21902, at *7 (S.D.N.Y. Jan. 4, 2021) (“[T]he law is clear that the inclusion of a ‘to
               wit’ clause in an indictment does not bind the government to prove the exact facts set out
               therein.”).
       101

               277 F.3d 678, 685 (3d Cir. 2002).
       102

               490 F.3d 314 (3d Cir. 2007).
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v. Bergrin,103 courts in the Third Circuit have held that “an indictment need not allege facts to

provide evidentiary support for a violation of a criminal statute. Rather, the Indictment may simply

track the language of the statute while providing sufficient factual orientation to the defendant for

double jeopardy purposes.”104 This is consistent with the pleading requirements articulated by the

Second Circuit, which the S5 Indictment satisfies.105 Third, Bergrin further limited Panarella by

clarifying that the latter case “merely held that courts should ‘determine whether the specific facts

alleged in the charging document fall beyond the scope of the relevant criminal statute, as a matter

of statutory interpretation.’”106 The scope of such an inquiry is limited to “whether the alleged

conduct could ever be alleged in such a fashion so as to fall within the statute’s ambit.”107 In the

present case, the S5 Indictment plainly alleges conduct that could be – and has been – alleged in

such a fashion so as to fall within the bank fraud statute’s ambit.

               Finally, the defendant argues that Count Nine must be dismissed because the

S5 Indictment alleges no nexus between the alleged misrepresentations, which induced Bank-1 to

open an account, and the withdrawal of funds from the bank’s custody.108 He is mistaken.



       103

               650 F.3d 257 (3d Cir. 2011).
       104

               See United States v. Mosberg, 866 F. Supp. 2d 275, 303 (D.N.J. 2011) (citing Vitillo, 490
               F.3d at 321).
       105

                See Yannotti, 541 F.3d at 127.
       106

               Bergrin, 650 F.3d at 271-72. (quoting Panarella, 277 F.3d at 685) (emphasis in original).
       107

               Mosberg, 866 F.Supp.2d at 303 (emphasis added).
       108

               Dkt 158, at 34.
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                Section 1344(2) requires that a defendant “acquire (or attempt to acquire) bank

property ‘by means of’ the misrepresentation,” which “typically indicates that the given result (the

‘end’) is achieved, at least in part, through the specified action, instrument, or method (the

‘means’).”109 Yet, the Second Circuit has upheld a bank fraud charge based on facts substantially

similar to those alleged in the S5 Indictment. In United States v. Lebedev, the defendant “caused

false information to be sent to financial institutions” and thereby opened a bank account in the name

of a “front company . . . to disguise the fact that [the bank’s] customers were transacting business

with an unregistered Bitcoin exchange.”110 The Second Circuit held that Lebedev made those

misrepresentations “with the intent to obtain funds under those institutions’ custody and control;

namely, funds in the customers’ accounts.”111 The S5 Indictment alleges that the defendant

conspired to send false information to a financial institution to disguise the true nature of an account

and to obtain funds from that account that were in the custody and control of the financial

institution.112 Accordingly, the indictment sufficiently alleges a nexus between the alleged

misrepresentations and the defendant’s alleged procurement of property from the bank. Count Nine

is legally sufficient.




        109

                Loughrin v. United States, 573 U.S. 351, 362-63 (2014) (emphasis in original).
        110

                United States v. Lebedev, 932 F.3d 40, 49 (2d Cir. 2019).
        111

                Id.
        112

                See S5 Indictment ¶¶ 14-22.
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               2.      Counts One and Two

               Counts One and Two charge the defendant with conspiring to commit and

committing wire fraud on FTX customers.113 The charges track the statutory language of 18 U.S.C.

§§ 1349 and 1343, respectively, and allege that the scheme sought to “obtain[] money and property

by means of false and fraudulent pretenses.”114 Specifically, the indictment alleges that the

defendant schemed to misappropriate “billions of dollars” of FTX customers’ funds, including both

fiat deposits and cryptocurrency assets on the FTX exchange, and used those funds “to pay expenses

and debts of Alameda, and to make investments, and for other purposes.”115 Thus, the indictment

sufficiently alleges a scheme to defraud, an object of which was obtaining customer funds, which

plainly constitute both “money” and “property” within the meaning of Section 1343.

               The defendant argues that these counts must be dismissed because the indictment

does not allege any “economic loss” to FTX customers.116 That is so, he argues, because the “core

claim” in the indictment is that he “misused FTX customer funds by providing improper loans to

Alameda,” but the indictment does not allege that he “never intended to pay back the loans to

Alameda.”117

               The defendant is wrong both factually and as a matter of law. The S5 Indictment


       113

               Id. ¶¶ 63-67.
       114

               Id. ¶¶ 65, 67.
       115

               See id. ¶¶ 22-24, 65, 67.
       116

               Dkt 140, at 18-19.
       117

               Id., at 18-20.
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alleges that, at the defendant’s direction, “Alameda regularly took money from accounts funded by

or that included funds from FTX customers” and “spent billions of dollars of those FTX customer

funds, among other things, to finance Alameda’s trading and expenses, to make venture investments

directed by [the defendant], and to bankroll tens of millions of dollars in [strawman] campaign

contributions.”118 In so doing, the defendant “allowed Alameda to incur a multi-billion-dollar

negative balance on FTX that [he] knew Alameda could not repay.”119 Thus, the defendant’s

assertion that the indictment does not allege any “economic loss” to FTX customers appears to be

factually incorrect. Moreover, it is immaterial as a matter of law whether the defendant intended

to repay the misappropriated funds because the offense is “complete” where, as alleged here, there

is an “immediate intent to misapply and defraud.”120 Accordingly, Counts One and Two are legally

sufficient.



               3.         Counts Seven and Eight

               Counts Seven and Eight of the S5 Indictment charge the defendant with conspiring

to commit and committing wire fraud on Alameda’s lenders.121 The charges track the statutory

        118

               S5 Indictment ¶ 22.
        119

               Id. ¶ 4.
        120

               United States v. Sindona, 636 F.2d 792, 800 (2d Cir. 1980) (“The offense occurred and was
               complete when the misapplication took place. What might have later happened as to
               repayment is not material and could not be a defense.”); see also United States v. Males, 459
               F.3d 154, 158-59 (2d Cir. 2006) (“The requirement under § 1343 that the defendant devise
               a scheme or artifice for obtaining money or property is satisfied where a defendant
               fraudulently obtains the use of another person’s money or property for a period of time,
               using it for his own personal profit, and depriving the owner of the ability to do so.”).
        121

               S5 Indictment ¶¶ 80-84.
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language of 18 U.S.C. §§ 1349 and 1343, respectively, and state the time and place of the alleged

crimes in approximate terms. The indictment alleges that the defendant engaged in a scheme to

defraud Alameda’s lenders “by providing false and misleading information to those lenders

regarding Alameda’s financial condition.”122 For example, the defendant allegedly directed

Alameda to repay lenders using misappropriated FTX customer funds and provided false and

misleading financial statements to lenders “to mislead [them] about the money Alameda had

‘borrowed’ from FTX, as well as about the substantial personal loans Alameda had made to FTX

executives.”123

                  The defendant argues that Counts Seven and Eight should be dismissed because they

fail to allege a “property interest” that could form the basis for a wire fraud offense against

Alameda’s lenders.124 But the indictment alleges that the objective of the scheme, at least in part,

was fraudulently to retain “hundreds of millions of dollars in outstanding loans” following the

downturn in the cryptocurrency markets in June 2022.125 Such allegations sufficiently allege a

property interest because the “right to be paid money has long been thought to be a species of

property”126 and a defendant’s scheme to “obtain or retain money by use of misrepresentations that




       122

                  Id. ¶¶ 82, 84.
       123

                  Id. ¶ 36.
       124

                  Dkt 140, at 15.
       125

                  See S5 Indictment ¶ 36.
       126

                  Pasquantino v. United States, 544 U.S. 349, 356 (2005).
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                                                                                                          28

he knew were material” is a “paradigmatic scheme to defraud.”127 Thus, the S5 Indictment

sufficiently alleges that the defendant “had an intent to deprive [Alameda’s lenders] of money or

property.”128



       C.       Counts Three and Four

                Counts Three and Four charge the defendant with conspiring to commit, and

committing, commodities fraud on FTX customers in violation of 7 U.S.C. §§ 9(1) and 13(a)(5) as

well as 17 C.F.R. § 180.1. The defendant moves to dismiss these counts on two independent

grounds.

                First, he claims that the government has failed to allege an “essential element” of the

offense – i.e., that the fraud was “in connection with” a commodities transaction.129 But Count Four

of the S5 Indictment plainly alleges that the defendant engaged in a scheme to defraud FTX

customers “in connection with a swap, a contract of sale of a commodity in interstate commerce,

and for future delivery on and subject to the rules of a registered entity.”130 Furthermore,


       127

                United States v. Gole, 21 F. Supp. 2d 161, 166 (E.D.N.Y. 1997), aff’d, 158 F.3d 166 (2d Cir.
                1998); see also Pasquantino, 544 U.S. at 355 (wire fraud victim’s right “to collect money”
                is “property” in its hands).
       128

                See Calderon, 944 F.3d at 85.

                The defendant’s citation to Alkaabi for the proposition that the government cannot “amend
                the S5 Indictment through its opposition brief,” Dkt 158, at 36 (citing Alkaabi, 223 F. Supp.
                2d at 589), is unpersuasive as to Counts Seven and Eight for substantially the same reasons
                already articulated with respect to Count Nine. See supra section II.B.1.
       129

                See Dkt 141, at 8.
       130

                S5 Indictment ¶ 73.
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                                                                                                          29

Count Three alleges that the defendant conspired to do the same.131 Because Counts Three and Four

track the relevant statutory and regulatory language of 7 U.S.C. §§ 9(1) and 13(a)(5), and 17 C.F.R.

§ 180.1(a), apprise the defendant of the nature of the accusations against him, and – when read in

conjunction with the “Overview” section of the indictment, which Counts Three and Four

incorporate by reference – provide notice generally of where and when the crime occurred, both

counts sufficiently allege a scheme and conspiracy to defraud “in connection with” a commodities

transaction.132

                  Second, the defendant argues that “the alleged conduct relevant to Counts Three and

Four was predominantly foreign” and that the Commodity Exchange Act (“CEA”) cannot be applied

to such extraterritorial conduct.133 The government counters that whether an indictment alleges an

impermissible extraterritorial application of a statute “is a merits question”134 and therefore “is not

a basis for dismissing an [i]ndictment, particularly where, as here, the extraterritoriality issue

requires a full presentation of evidence.”135 Extraterritoriality typically is assessed after a full

presentation of the evidence at trial.136 Indeed, the defendant has not identified and the Court is not

        131

                  Id. ¶ 70.
        132

                  See Stringer, 730 F.3d at 124.
        133

                  See Dkt 141, at 8.
        134

                  Dkt 149, at 34 (quoting United States v. Prado, 933 F.3d 121, 138 (2d Cir. 2019)).
        135

                  Id., at 34-35 (citing United States v. Perez, 575 F.3d 164, 166 (2d Cir. 2009)).
        136

                  See, e.g., United States v. Napout, 963 F.3d 163, 180 (2d Cir. 2020) (holding government
                  “presented ample evidence” at trial that charge was not extraterritorial); United States v.
                  Epksamp, 832 F.3d 154, 169 (2d Cir. 2016); United States v. Vilar, 729 F.3d 62, 77 (2d Cir.
                  2013).
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aware of any case in this district where an indictment has been dismissed on extraterritoriality

grounds at the motion to dismiss stage.137 In all events, the Court need not decide whether it would

be premature to dismiss the indictment on extraterritoriality grounds at this stage because the

S5 Indictment alleges a “sufficient domestic nexus” for the commodities fraud and conspiracy

charges “to avoid the question of extraterritorial application altogether.”138

               To determine whether a charge involves a proper “domestic application of [a]

statute,” courts assess “whether the domestic activity pleaded is the focus of congressional

concern.”139 The focus of the CEA is “rooting out manipulation” and “ensuring market integrity.”140

Thus, if “the conduct relevant to that focus occurred abroad, . . . then the case involves an

impermissible extraterritorial application regardless of any other conduct that occurred in U.S.




       137

               The Court notes, however, that courts in this district have denied motions to dismiss
               indictments on extraterritoriality grounds on the merits, rather than on procedural grounds.
               See, e.g., United States v. Halkbank, No. 15-cr-867 (RMB), 2020 WL 5849512, at *6-7
               (S.D.N.Y. Oct. 1, 2020), aff’d sub nom. United States v. Turkiye Halk Bankasi A.S., 16 F.4th
               336 (2d Cir. 2021), aff’d in part, vacated in part, remanded, 143 S. Ct. 940 (2023) (denying
               defendant’s motion to dismiss indictment on extraterritoriality grounds because “[t]he
               Government counters persuasively that the Indictment involves a domestic, rather than an
               extraterritorial, application of the [International Emergency Economic Powers Act], the bank
               fraud statute, the money laundering statute, and [18 U.S.C.] § 371.”); see also United States
               v. Sindzingre, No. 17-cr-0464 (JS), 2019 WL 2290494, at *10 (E.D.N.Y. May 29, 2019),
               rev’d in part, appeal dismissed in part sub nom. United States v. Bescond, 24 F.4th 759 (2d
               Cir. 2021) (denying defendant’s motion to dismiss indictment on basis that the alleged CEA
               charge is “impermissibly extraterritorial”).
       138

               United States v. Mostafa Kamel Mostafa, 965 F. Supp. 2d 451, 469 (S.D.N.Y. 2013).
       139

               Prime Int’l Trad. v. BP PLC, 937 F.3d 94, 102 (2d Cir. 2019).
       140

               CFTC v. Gorman, No. 21-cv-870 (VM), 2023 WL 2632111, at *12 (S.D.N.Y. Mar. 24,
               2023) (citing Prime, 937 F.3d at 102-03).
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                                                                                                          31

territory.”141 The ultimate question is whether sufficient “manipulative conduct or statements [were]

made in the United States.”142

               Count Four alleges that the defendant committed commodities fraud “in the Southern

District of New York and elsewhere.”143 Count Three similarly alleges that the defendant conspired

to commit commodities fraud and committed overt acts in furtherance of that conspiracy in this

district.144 The indictment alleges that the defendant made false and misleading statements both in

the United States and directed at U.S. customers. For example, the indictment alleges that the

defendant made misrepresentations in testimony before the United States Senate, including that FTX

had a focus on “consumer protection,” had adopted “principles for ensuring investor protections on

digital asset-platforms,” and that “as a general principle FTX segregate[d] customer assets from its

own assets across [its] platforms.”145 The defendant allegedly spent millions of dollars on celebrity

endorsements that aired throughout the United States during the 2022 Super Bowl, advertising

FTX.US as the “safest and easiest way to buy and sell crypto” and “the most trusted way to buy and

sell” digital assets.146 Furthermore, the defendant allegedly made false and misleading statements

       141

               Prime Int’l Trad., 937 F.3d at 107-108 (emphasis in original) (citation and internal quotation
               marks omitted).
       142

               Id. at 108.
       143

               S5 Indictment ¶ 67.
       144

               Id. ¶¶ 69, 71.
       145

               Id. ¶ 2.
       146

               See id. ¶ 2; see also United States v. Cornelson, 609 F. Supp. 3d 258, 266 (S.D.N.Y. 2022)
               (internal quotation marks and citations omitted) (“[I]t is well settled that, when reviewing
               an indictment, common sense must control, and . . . an indictment must be read to include
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on Twitter, a U.S.-based social media platform, including that FTX customer assets were “fine,” that

FTX had “enough to cover all client holdings,” and that FTX did not “invest client assets (even in

treasuries).”147 In all the circumstances, the government has pleaded a sufficiently domestic

application of the commodities fraud and conspiracy statutes to call for a trial of the charges on the

merits.148



        D.     Count Ten

               Count Ten charges the defendant with conspiring to operate an unlicensed money

transmitting business (“MTB”) in violation of 18 U.S.C. § 1960.149

               Section 1960 makes it a crime knowingly to conduct, control, manage, supervise,

direct, or own an “unlicensed money transmitting business.”150 It defines money transmitting as

“transferring funds on behalf of the public by any and all means including but not limited to

transfers within this country or to locations abroad by wire, check, draft, facsimile, or courier.”151

Thus, an “unlicensed money transmitting business” comprises (i) “a money transmitting business”

that (ii) “affects interstate or foreign commerce in any manner or degree” and (iii) “fails to comply


               facts which are necessarily implied by the specific allegations made.”)
        147

               S5 Indictment ¶¶ 34, 54, 60.
        148

               See Costello, 350 U.S. at 363 (“An indictment returned by a legally constituted and unbiased
               grand jury . . . if valid on its face, is enough to call for trial of the charge on the merits.”).
        149

               S5 Indictment ¶¶ 88-91.
        150

               18 U.S.C. § 1960.
        151

               18 U.S.C. § 1960(b)(2).
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                                                                                                      33

with the money transmitting business registration requirements under section 5330 of title 31,

United States Code, or regulations prescribed under such section.”152

               Count Ten tracks the language of 18 U.S.C. §§ 1960(a) and (b)(1)(B), alleging that

the defendant conspired to operate an “unlicensed money transmitting business affecting interstate

and foreign commerce, which failed to comply with the money transmitting business registration

requirements under Section 5330 of Title 31, United States Code, and regulations prescribed under

such section.”153 The indictment alleges also the approximate dates and locations where the charged

conduct took place. Accordingly, the indictment “satisfies the pleading requirements of Rule

7(c)(1)” and is “sufficient with respect to allegations that [the business] was a money transmitting

business” to survive the defendant’s motion to dismiss.154

               The defendant’s argument for dismissal – that the “only relevant domestic activity”

alleged in the indictment was FTX’s “use of a U.S. bank account”155 – goes beyond the pleading

requirements and is without merit in all events. To understand his argument, it is helpful first to

provide a summary of the complex statutory and regulatory framework underlying Count Ten.

               Section 1960 refers to registration requirements that can be found under Section 5330



       152

               See 18 U.S.C. § 1960(b)(1)(B).

               Section 1960 provides two other potential definitions of an “unlicensed money transmitting
               business,” neither of which is charged in the S5 Indictment and therefore is not addressed
               herein. See 18 U.S.C. §§ 1960(b)(1)(A), 1960(b)(1)(C).
       153

               S5 Indictment ¶¶ 89, 90.
       154

               United States v. Murgio, 209 F. Supp. 3d 698, 710-11 (S.D.N.Y. 2016).
       155

               Dkt 141, at 19.
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or regulations thereunder.156 Section 5330 is a provision of the Bank Secrecy Act, 31 U.S.C. §§

5311 et seq., which states in relevant part that “any person who owns or controls a money

transmitting business shall register the business . . . with the Secretary of Treasury[.]”157

Section 5330 defines a “money transmitting business” as including both (i) a “money transmitting

service,” which includes persons “accepting currency, funds, or value that substitutes for currency

and transmitting the currency, funds, or value that substitutes for currency by any means” and

(ii) “any other person who engages as a business in the transmission of currency, funds, or value that

substitutes for currency[.]”158

               The implementing regulations for Section 5330 are administered by the

U.S. Department of the Treasury’s Financial Crimes Enforcement Network (“FinCEN”) and are

found in 31 C.F.R. § 1010.100 et seq. (together, the “FinCEN Regulations”). The FinCEN

Regulations require that “each money services business . . . register with FinCEN” unless it falls

within certain enumerated exceptions.159 A “money services business” (“MSB”) is defined as “[a]

person wherever located doing business, whether or not on a regular basis or as an organized or

licensed business concern, wholly or in substantial part within the United States, in one or more of

the capacities” enumerated in the FinCEN Regulations.160


       156

               See 18 U.S.C. § 1960(b)(1)(B) (referencing 31 U.S.C. § 5330).
       157

               31 U.S.C. § 5330(a)(1)
       158

               31 U.S.C. §§ 5330(d)(2), 5330(d)(1)(A).
       159

               31 C.F.R. § 1022.380(a)(1).
       160

               31 C.F.R. § 1010.100(ff) (emphasis added).
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               The defendant’s motion to dismiss Count Ten relies on the language of the FinCEN

Regulations that limits their scope – and accordingly the scope of Section 1960(b)(1)(B)’s

registration requirement – to argue that MSBs must register only if the services they provide as an

MSB occur “wholly or in substantial part within the United States.”161 In 2011, however, FinCEN

issued a final rule (the “Final Rule”) stating that whether or not a “foreign-located” entity operated

as an MSB “wholly or in substantial part within the United States” depends on “all of the facts and

circumstances of each case, including whether persons in the United States are obtaining MSB

services from the foreign-located person, such as sending money to or receiving money from third

parties through the foreign-located person.”162 Moreover, FinCEN specifically carved out certain

activity as not sufficiently “substantial” to trigger the registration requirement, stating in relevant

part, “a foreign-located person’s mere maintenance of a bank account in the United States should

not cause that person to be defined as an MSB.”163 The defendant argues that the S5 Indictment

alleges that FTX “engaged in precisely the conduct that the Final Rule provides does not require

registration as an MSB.”164

               The defendant’s argument is unpersuasive for several reasons. First, the alleged

conspiracy to operate an unlicensed MTB involved not only FTX, but also U.S.-based companies



       161

               Dkt 141, at 21-22 (quoting 31 C.F.R. § 1010.100(ff)).
       162

               U.S. Dep’t of Treasury, FinCEN, RIN 1506-AA97, Bank Secrecy Act Regulations;
               Definitions and Other Regulations Relating to Money Services Businesses, 76 Fed. Reg.
               43585, 43588 (July 21, 2011) (hereinafter, the “Final Rule”).
       163

               Id.
       164

               Dkt 141, at 23 (emphasis in original).
        Case 1:22-cr-00673-LAK Document 167 Filed 06/27/23 Page 36 of 41




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Alameda and North Dimension.165 Second, the indictment alleges that wire transfers relating to the

unlicensed MTB were received in and were transmitted through this district.166 Third, the indictment

alleges that the conspiracy’s use of U.S. bank accounts went well beyond “mere maintenance of a

bank account in the United States.”167 Indeed, those bank accounts were central to the money

transmitting business, which allowed FTX customers to make millions of dollars of deposits to and

withdrawals from the FTX trading platform. Accordingly, the S5 Indictment sufficiently pleads that

a substantial part of the services provided by the alleged MTB occurred within the United States.

Accordingly, Count Ten is legally sufficient.



       E.      Count Twelve

               Count Twelve charges the defendant with conspiring to violate federal election laws,

specifically 52 U.S.C. §§ 30122 and 30118.168 Section 30122 provides that “no person shall make

a contribution in the name of another person” and Section 30118 prohibits “any corporation” from

making a “contribution” to any candidate.169

               The indictment alleges that the charged conspiracy had three objects: (i) the

defendant conspired to violate Section 30122 by scheming to make contributions that were funded


       165

               S5 Indictment ¶¶ 18-21.
       166

               Id. ¶ 91.
       167

               Final Rule at 43588.
       168

               S5 Indictment ¶¶ 96-101.
       169

               52 U.S.C. §§ 30122, 30118.
        Case 1:22-cr-00673-LAK Document 167 Filed 06/27/23 Page 37 of 41




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by assets from Alameda or FTX in the names of two FTX executives;170 (ii) the defendant conspired

to violate Section 30118 by making contributions in his name and the names of his co-conspirators

that were funded with FTX and Alameda assets;171 and (iii) the defendant conspired to defraud the

FEC by impairing its ability to administer federal law concerning source and amount restrictions in

federal elections.172

                Count Twelve tracks the relevant statutory language and “charges [the] crime with

sufficient precision to inform the defendant of the charges he must meet.”173



        F.      Count Thirteen

                Count Thirteen charges the defendant with conspiring to violate the FCPA by bribing

one or more Chinese government officials in order to regain access to Alameda trading accounts that

had been frozen by Chinese law enforcement authorities.174 The defendant moves to dismiss this

count on two independent bases: (i) the government, he argues, has failed to allege properly that any

alleged bribes were paid “in order to assist [a] domestic concern in obtaining or retaining business”

and (ii) venue is improper in this district.175


        170

                S5 Indictment ¶¶ 37, 98.
        171

                Id. ¶¶ 37, 99.
        172

                Id. ¶¶ 46, 100.
        173

                Yannotti, 541 F.3d at 127.
        174

                S5 Indictment ¶¶ 28-31, 102-05.
        175

                See Dkt 142, at 20 (citing 15 U.S.C. § 78dd-2(a)).
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                1.      The Business Nexus Element

                First, the anti-bribery provision that the defendant allegedly conspired to violate

applies where, inter alia, a “domestic concern,” such as a U.S. resident or a resident’s agent, engages

in certain conduct “in furtherance of” a payment to a foreign official “to assist . . . in obtaining or

retaining business for or with, or directing business to, any person.”176 This requirement commonly

is referred to as the “business nexus element.”177

                Count Thirteen tracks the statutory language of Section 78dd-2(a) and alleges that

the defendant conspired to bribe one or more Chinese officials “in order to assist [the defendant],

Alameda, and others in obtaining and retaining business for, and directing business to, [the

defendant], Alameda, and others.”178 Moreover, the indictment provides sufficient detail about the

time, place, and nature of the alleged bribe “to inform the defendant of the charges he must meet”

and to enable him to “plead double jeopardy in a future prosecution based on the same set of

events.”179 Accordingly, the indictment sufficiently pleads the business nexus element and no

further inquiry into the factual allegations is required at this stage.180



        176

                15 U.S.C. § 78dd-2(a).
        177

                See United States v. Kozeny, 493 F. Supp. 2d 693, 705 (S.D.N.Y. 2007).
        178

                S5 Indictment ¶ 104.
        179

                See id. ¶¶ 6, 28-31; Yannotti, 541 F.3d at 127 (quoting Stavroulakis, 952 F.2d at 693).
        180

                See Stringer, 730 F.3d at 124; see also United States v. Kay, 359 F.3d 738, 761 (5th Cir.
                2004) (“[T]he business nexus element . . . does not go to the FCPA’s core of criminality” and
                an indictment may be sufficiently pleaded if it “paraphras[es]” the statute without alleging
                “details regarding what business is sought or how the results of the bribery are meant to
                assist”).
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               2.      Venue

               Second, the defendant argues that venue in this district is improper for Count Thirteen

because the government has failed to allege that he was “first brought” or “arrested” in this district

within the meaning of 18 U.S.C. § 3238, which governs venue for certain offenses “begun or

committed” outside of the United States.181

               Section 3238 provides that in such circumstances:

               “The trial of all offenses . . . shall be in the district in which the offender, or any one
               of two or more joint offenders, is arrested or is first brought; but if such offender or
               offenders are not so arrested or brought into any district, an indictment or
               information may be filed in the district of the last known residence of the offender
               or of any one of two or more joint offenders, or if no such residence is known the
               indictment or information may be filed in the District of Columbia.”182

The S5 Indictment alleges that the defendant conspired with “others known and unknown, at least

one of whom was first brought to and will be arrested in the Southern District of New York.”183

               The defendant argues that the “first brought” portion of Section 3238 is inapplicable

in this case because it “applies only in situations where the offender is returned to the United States

already in custody” in connection with the offense at issue.184 The defendant claims that he was

brought to this district from The Bahamas in connection with the original indictment, which did not

include the FCPA offense, and therefore the “first brought” provision does not apply. Furthermore,



       181

               Dkt 142, at 25; 18 U.S.C. § 3238.
       182

               18 U.S.C. § 3238.
       183

               S5 Indictment ¶ 103.
       184

               Dkt 142, at 26 (citing United States v. Catino, 735 F.2d 718, 724 (2d Cir. 1984); United
               States v. Ghanem, 993 F.3d 1113, 1122 (9th Cir. 2021)).
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he argues that the “arrested” portion of the statute also does not apply here because – although he

was arrested on the FCPA offense in this district before his arraignment on the S5 Indictment – he

was in California at the time the S5 Indictment was unsealed and he “had no choice but to come”

to this district to be arraigned.185

                At this juncture, the Court need not and does not decide whether the defendant was

“first brought” or “arrested” in this district within the meaning of Section 3238 because the

government sufficiently alleges that “at least one” of his co-conspirators “was first brought to and

will be arrested” in this district.186 Therefore, “[t]he question of whether there is sufficient evidence

to support venue is appropriately left for trial.”187 Accordingly, the motion to dismiss for improper

venue is denied without prejudice to renewal under Federal Rule of Criminal Procedure 29.188




        185

                Dkt 142, at 27 (citing United States v. Hilger, 867 F.2d 566, 568 (9th Cir. 1989)).
        186

                See S5 Indictment ¶ 103; see also United States v. Stein, 429 F. Supp. 2d 633, 643 (S.D.N.Y.
                2006) (“[A]s long as the indictment alleges venue, a pretrial motion to dismiss based on
                contrary allegations by the defendant must be denied.”).
        187

                 United States v. Ohle, 678 F. Supp. 2d 215, 231 (S.D.N.Y. 2010).
        188

                See United States v. Valencia Rugeles, No. 04-cr-363 (JGK), 2007 WL 1540981, at *3
                (S.D.N.Y. May 24, 2007) (“Because the Government retains the burden of establishing
                venue by a preponderance of the evidence at trial, the dismissal is without prejudice to
                renewal under Federal Rule of Criminal Procedure 29.”).
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                                           Conclusion

               The Court has considered all of the arguments of the parties. To the extent not

addressed herein, the arguments are either moot or without merit. For the foregoing reasons, the

defendants pretrial motions (Dkt 136), to the extent not previously ruled upon, are denied.

               The Clerk is directed to close Dkt 136.

               SO ORDERED.

Dated:         June 27, 2023
